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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and on
behalf of COOPER SQUARE VENTURES, LLC
NDAP, LLC and CHANNEL REPLY, LLC

Plaintiffs,
-againse-

DAVID GITMAN, JEREMY FALK, SUMMIT
ROCK HOLDINGS, LLC, ACCEL
COMMERCE, LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKSH
GLUBRHAREYV and CHANNELREPLY, INC.

Defendants, Case No. 17 CY 4327 (LLS} (RWL)

 

DAVID GTTMAN, individually, and an behalf of
COOPER SQUARE VENTURES, LLC, and
NDAP, LLC

Counterclaim Plaintiffs,

~against-
MICHAEL DARDASHTIAN

Counterclaim Defendant.

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DISCOVERY CONFIDENTIALITY ORDER BY CONSENT
WHEREAS, Plainuffs and Counterclaim Defendant Michael Dardashtian
("Dardashtian"}, Cooper Square Ventures, LLC ("CSV"), NDAP, LLCO (NDAP") and Channel
Reply, LLCO ("CR LLC") (CSV, NDAP and CR LLC are collectively “PlamtiT
Companies’ Dardashtian and Plaintiff Companies are collectively, “Plainuffs"} and Defendants

David Gitman (“Gitman’), Accel Commerce, LLC (“Accel”), Dalva Ventures, LLC (“Dalva’,

 

 
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and Channel Reply, Inc. (“CR Inc.”) (collectively, the “Defendants”) have each been requested
to respond to discovery requests; and

WHEREAS, it appearing that discovery in the above-captioned action (the “Litigation")
is likely to involve the disclosure of confidential, proprietary and/or trade secret information, it is
ORDERED as follows:

1. This Discovery Confidentiality Order by Consent (the “Confidentiality Order")
governs the use and handling of documents, things, electronic information in any form (including
embedded data and metadata), testimony, interrogatory responses, and other information,
including all copies, excerpts, and summaries thereof (collectively, the "Material") produced or
given by any defendant, plaintiff, or other individual or entity in this Litigation.

2. Any party to this Litigation and any third-party covered by this Order shall have
the right to designate as "Confidential" and subject to this Order, any Material: (a) that contains
trade secrets, codes, source codes, software programs, competitively sensitive technical,
marketing, financial, sales or other confidential business information, or (b) that contains private
or confidential personal information, including information reasonably beleved to be
confidential, proprietary and/or a trade secret; or (c} that contains information received in
confidence from third parties, ar (d} which the producing party otherwise believes in good faith
to be entitled to protection under the FRCP and this Confidentiality Order. Any party to this
Litigation or any third party covered by this Order, who produces or discloses any confidential
material, including any material believed to be confidential, including without Hmitation any
information, document, thing, inlerrogatory answer, admission, pleading, or testimony, shall
mark the same with the legend: "CONFIDENTIAL" or “CONFIDENTIAL - SUBJECT TO

DISCOVERY CONFIDENTIALITY ORDER" (hereinafter “Confidential"), In the event that a

 

 
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party sceks to designate decuments or things as “Confidential”, they shall note that in the
covering transmittal of such information.

3. Any party to this Litigation and third-party covered by this Order shall have the
righi to designate as "Aitorneys’ Eyes Only” and subject to this Order, any Material that contains
highly sensitive business or personal information, the disclosure of which is highly likely to
cause significant harm to an individual or to the business or competitive position of the
designating party. Any party to this Litigation or third party who is covered by this Order, who
produces or discloses any “Attorneys' Eyes Only” Material, including without limitation any
information, document, thing, interrogatory answer, admission, pleading, or testimony, shall
mark the same with the legend: "“ATTORNEYS' EYES ONLY" or “ATTORNEYS' EYES
ONLY - SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER” (hereinafier “Attomeys’
Eyes Only"). In the event that a party or third party seeks to designate documents or things as
“Attorney's Eyes Only”, they shall note that in the covering transmittal of such information.

4, Al “Confidential” Material shall be used by the receiving party solely for
purposes of the prosecution or defense of this Litigation, shall not be used by the receiving party
for any business, commercial, competitive, personal or other purpose, and shall not be disclosed
by the receiving party to anyone other than those set forth in Paragraph 5, unless and until the
restrictions herein are removed either by written agreement of counsel for the parties, or by
Order of the Court. It is, however, understood that counsel for a party may give advice and
Opinions to his or her client solely relating to the above-captioned action based on his or her
evaluation of “Confidential” material, provided that such advice and opinions shall not reveal the
content of such “Confidential” material except by prior written agreement of counsel for the

parties, or by Order of the Court.

 
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5. “Confidential” Material and the contents of “Confidential” Material may be
disclosed only to the following individuals under the following conditions:

a. Outside counsel and staff (herein defined as any attorney al the parties’ outside
law firms) and relevant in-house counsel for the parties;

b. Outside experts or consultants retained by outside counse! for purposes of this
action, provided they have signed a non-disclosure agreement agrecing to be
bound by the terms of this Order;

c. Secretarial, paralegal, clerical, duplicating and data processing personnel of the
foregoing in (a) and/or (b);

ad. The Court and court personnel;

e. Any deponent may be shown or examined on any information, document or thing
designated “Confidential” if (2) it appears that the witness authored or received a
copy of it, was involved in the subject matter described therein or is employed by
the party who produced the information, document or thing, if counsel showing or
examining on the information, document or thing designated as "Confidential"
has a good faith basis to believe one of the above-listed conditions applies, or if
the producing pariy consents to such disclosure; (ii) in addition, the deponent may
be requested to sign the attached Certification of Confidentiality, and, if executed,
may be shown the "Confidential" material; (iii) if a controversy arises, and the
parties and their counsel are unable to resolve the dispute after a meet and confer,
then the parties agree io follow the procedures set forth in Paragraph ]O0{b) below.

f. Vendors retained by or for the parties to assist in preparing for pretrial discovery,

trial and/or hearings including, but not limited to, court reporters, litigation

 
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support personnel, jury consultants, individuals to prepare demonstrative and
audiovisual aids for use in the courtroom or in depositions or mock jury sessions,
as well as their staff, stenographic, and clerical employees whose duties and
responsibilities require access to such materials; and

g. The parties. In the case of parties that are corporations or other business entities,
“party” shall mean executives and employees who are required io participate in
decisions with reference to this lawsuit or otherwise required to provide
testimony.

6. “Confidential” Material shall be used only by individuals permitted access to it
under Paragraph 5. “Confidential” Material, copies thereof, and the information contained
therein, shall not be disclosed in any manner to any other individual, until and unless (a} outside
counsel for the party asserting confidentiality waives the claim of confidentiality, or (b} the
Court orders such disclosure.

7. With respect to any depositions that involve a disclosure of “Confidential”
material of a party to this action, such party shall have until twenty (20) days after receipt of the
deposition transcript within which to inform all other parties that portions of the transcript are to
be designated “Confidential”, which period may be extended by agreement of the parties. No
. such deposition transeript shall be disclosed to any individual other than the individuals
described in Paragraph 4(a), (b), (c), (d}, Cf) and (@) above and the deponeni during these twenty
(20) days, and no individual attending such a deposition shall disclose the contents of the
deposition to any individual other than those described in Paragraph 4(a), (b), (c), (4), (f and (g)
above during said twenty (20) days. Upon being informed that ceriain portions of a deposition

are io be designated as “Confidential”, all parties shall immediately cause each copy of the

 

 
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transcript in its custody or control to be appropriately marked and limit disclosure of that
transcript in accordance with Paragraphs 3 and 4,

8. Material produced and marked as “Attorneys' Eyes Only” may be disclosed only
to outside counsel for the receiving party and to such other persons as counsel for the producing
party agrees in advance or as ordered by the Court. Any deponent may be shown or examined
on any information, document or thing designated as “Attorney's Eyes Only" if it appears the
witness authored or received a copy of it, or if agreed upon in writing between counsel for both
parties;

9. if counsel for a party receiving documents or information designated as
“Confidential” or “Attorneys' Eyes Only” hereunder objects to such designation of any or ail of
such iiems, the following procedure shall apply:

{a} Counsel for the objecting party shall serve on the designating party or third party
a written objection to such designation, which shall describe with particularity the
documents or information in question and shall state the grounds for objection.
The objecting and producing party shall confer in good faith to resolve any such
dispute. Ifthe parties are unable to resolve the dispute, the objecting party may
apply io the Court for a muling that the Material is not appropriately designated,
giving notice to the designating party.

(b) If a dispute as to a “Confidential” or “Attorneys’ Eyes Only” designation of a
decument or item of information cannot be resolved by agreement, the proponent
of the designation being challenged shall carry the burden of demonstrating the
basis for such designation. A challenge to the designation shall follow the

procedures set forth in the applicable Local, Federal and Judge’s Individual Rules.

 
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The document or information that is the subject of the filing shall be treated as
originally designated pending resolution of the dispute, including filing the
documents or information under seal, as appropriate.

10. — All requests to seal documents fled with the Court shall comply with the FRCP,
and the parties hereto hereby jointly request that ail material marked “Confidential” and/or
“Attorney’s Eyes Only” be sealed from the public record, and will make application to the Court
for such relief. No party shall file “Confidential” or “Attorney’s Eyes Only” documents or things
on the Court Docket unless ordered to do so by the Court.

tl. Hf the need arises during trial or at any hearing before the Court for any party to
disclose “Confidential” or “Attorneys' Eyes Only” Material, it may de so only after giving notice
to the producing party and as directed by the Court.

12. To the extent consistent with applicable law, the inadvertent, unintentional or
mistaken disclosure of “Confidential” and/or “Attorney’s Eyes Only” material that should have
been designated as such, regardiess of whether the information, document or thing was so
designated at the time of disclosure, shall not be deemed a waiver in whole or in part of a party's
claim of confidentiality, either as to the specific information, document or thing disclosed or as
io any other material or information concerning the same or related subject matter, Such
inadvertent, unintentional or mistaken disclosure may be rectified by notifying, in writing,
counsel for all parties io whom the “Confidential” and/or “Attorney’s Eyes Only” material was
disclosed that the material should have been designated “Confidential” and/or “Attorney's Eyes
Only” within a reasonable time after such inadvertent or uninientional disclosure. Such notice
shall constitute a designation of the information, decument or thing as “Confidential” and/or

“Attorney's Eyes Only” under this Discovery Confidentiality Order. In a deposition or at trial,
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there is a presumption that counsel is acting in good faith, If any attorney for a party in this
Litigation inadvertently, unintentionally or mistakenly violates this Confidentiality Order, and
such violation is noticed by opposing counsel, the opposing counsel agrees to promptly notify
the attorney committing the violation and provide a reasonable opportunity to cure the violation
to the exient reasonably curable.

13, When the inadvertent, unintentional or mistaken disclosure of any Material
protected by privilege or work-product immunity or other applicable privilege or protection is
discovered by the producing party and brought to the attention of the receiving party, the
receiving party shall return the Material to the producing party or destroy or delete the Material,
on the request of the producing party. The receiving party shall take all reasonable steps to
delete or otherwise permanently remove the Materials from any systems used to house
documents, including document review databases, e-rooms, or any other locations that store the
document, The receiving party may make no use of the inadvertently disclosed Material in this
Litigation or any other matter, or disclose the Material's contents to anyone whe was not already
aware of its contents. Such inadvertent, unintentional or mistaken disclosure of such Material
protected by privilege or work-product protection or other applicable privilege or protection shall
not by itself constitute a waiver by the producing party of any claims of privilege, work product
protection or other protection.. However, nothing herein restricts the right of the receiving party
to challenge the producing party's claim of privilege if appropriate within a reasonable time afler
recelving notice of the inadvertent, unintentional or mistaken disclosure This Order shall be
interpreted to provide the maximum protection allowed by Federal Rute of Evidence $02(d}.

4. No information thai is in the public domain or which is already known by the

receiving party through proper means or which is or becomes available to a party from a source

 

 
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other than the party asserting confidentiality, rightfully in possession of such information on a
non-confidential basis, shall be deemed or considered to be “Confidential” material under this
Discovery Confidentiality Order.

15. This Discovery Confidentiality Order shall not deprive any party of its right to
object ta discovery by any other party or on any otherwise permitted ground. This Discovery
Confidentiality Order is being entered without prejudice to the right of any party to move the
Court for modification or for relief from any of its terms.

16. This Discovery Confidentiality Order shall survive the termination of this action
and shall remain in full force and effect unless and until modified by an Order of ihis Court or by
the written stipulation of the parties filed with the Court. The Court expressly retains jurisdiction
of this action for enforcement of the provisions of this Confidentiality Order following the jinal
resolution of this Litigation.

17, Upon final conclusion of this Hugation, within sixty (60) days after the final
termination of this Litigation, including appeals, each party or other individual subject to the
terms hereof shall use reasonable efforts to either return to the originating source all originals
and unmarked copies of documents and things containing “Confidential” and/or “Attormey’s
Eyes Only” Material or to destroy such “Attorney's Eyes Only” and/or “Confidential” Material
and certify that fact; provided, however, that counsel may retain complete copies of all
deposition and trial transcripts and pleadings including any exhibits attached thereto,
correspondence, expert reporis and attorney work product that contain or refer to “Auorney's
Eyes Only” and/or "Confidential" Material for archival purposes, subject to the provisians of this
Discovery Confidentiality Order which shall survive the final disposition of this Litigation. To

the extent a party requests the return of “Confidential” and/or “Attorney’s Eves Only” Material

 
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from the Court after the final conclusion of the Litigation, including the exhaustion of all appeals
therefrom and all related proceedings, the party shall file a motion seeking such relief. Nothing
herein shall be interpreted in a manner that would violate any applicable canons of ethics or
codes of professional responsibility.

18, Nothing ia this Order shall affect a party's use or disclosure of its own documents
in any way. The use by a party of its own "Confidential" or "Attorney's Eyes Only" documents
as part of the confidential proceedings among the parties or party depositions does not alter the

confidentiality of the documents in question with respect to third parties.

50 ORDERED:
Dated: New York, New York
May , 2018

 

Honorable Robert W. Lehrburger, U.S.M_J.

APPROVED AS TO FORM AND ENTRY:

 

 

ARTURI, DARGENIO, GUAGLARDI BENTONS US LLP
& MELITI, LLP Attorneys for Defendants
Attorneys for ve
é ‘ ~
OR hb thet
Barry S. Guaglardi, Esq. Even USP U, oS6 Brian S. Cousin, Esq.
Mack Centre | ‘ Mark D. Meredith, Esq.
365 W, Passaic Street, Suite 130 [221 Avenue of the Americas
Rochelle Park, New Jersey 07662 New York, New York 10020
(201) 947-4100 (212) 768-6700

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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and on
behalf of COOPER SQUARE VENTURES, LLC
NDAP, LLC and CHANNEL REPLY, LLC

Plaintiffs,
~against-

DAVID GITMAN, JEREMY FALK, SUMMIT
ROCK HOLDINGS, LLC, ACCEL
COMMERCE, LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKSH
GLUKHAREY and CHANNELREPLY, INC,

Defendants. Cuse Ne. 17 CV 4327 (LLS) (RWL)

 

DAVID GITMAN, individually, and on behalf of
COOPER SQUARE VENTURES, LLC, and
NBAP, LLC

Coumierclaim Plaintiffs,

-againsi-

MICHAEL DARDASHTIAN

Counterclaim Defendant.

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CERTIFICATION OF CONFIDENTIALITY

{ hereby certify my understanding that Material designated "Confidential" or "Attorney's
ves Only" is being provided to me pursuant to the terns and restrictions of the attached
Discovery Confidentiality Order by Consent in this action by the United States District Court for
the Southem District of New York, on May, 2018 (the "Order"). | have read and understand

ihe terms of the Order, |] agree to be fully bound by them, and | hereby submit to the jurisdiction

 
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of the United States District Court for the Southern District of New York for the purposes of

enforcement of this Order.

Dated: Signature:

 

Name:

 

 
